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 7
                             IN THE SUPERIOR COURT OF WASHINGTON
 8                                   IN AND FOR KING COUNTY

 9   LIZABETH GLASS AND BRIAN
     REBESCHINI,                                  NO.
10
                            Plaintiffs,           COMPLAINT FOR VIOLATIONS OF 15
11                                                U.S.C. § 1692 ET SEQ. AND RCW
            vs.                                   CHAPTERS 19.16 AND 19.86 ET SEQ.
12
     CARROLL'S CREEK APARTMENTS
13   PROPERTY OWNER, LLC, JRK
     RESIDENTIAL GROUP, INC. dba TWO
14   COAST LIVING and I.Q. DATA
     INTERNATIONAL, INC.
15
                            Defendants.
16

17
            COME NOW Plaintiffs, Lizabeth Glass and Brian Rebeschini, by and through counsel,
18
     who allege:
19
                                 I.       PARTIES AND JURISDICjION
20
            1.       Plaintiff Lizabeth Glass is an individual who, in June 2021, leased an apartment
21
     from certain Defendants (Carroll's Creek Property Owner, LLC and its property manager JRK
22
     Residential Group, Inc.) in Marysville, WA. Subsequent to her tenancy, these Defendants
23
     retained Defendant I.Q. Data International, Inc. to attempt to collect an alleged debt from Ms.

                                                                              ANDERSON I SANTIAGO
     Complaint - 1                                                                      207B SUNSET BLVD. N.
                                                                                           RENTON, WA 98057
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 1   Glass.

 2            2.     Plaintiff Brian Rebeschini is an individual who, in June 2021, leased an apartment

 3   from the above-identified Defendants in Marysville, WA. Subsequent to his tenancy,

 4   Defendants retained Defendant I.Q. Data International, Inc. to attempt to collect an alleged debt

 5   from Mr. Rebeschini

 6            3.     Defendant Carroil' s Creek Property Owner, LLC f 'CCPO"), a foreign limited

 7   liability company, UBI #604131727, is a landlord (RCW 59.18.030) doing business in

 8   Washington who failed to properly discharge its duties under the Washington Residential

 9   Landlord Tenant Act ("RLTA"). CCPO's registered agent is National Registered Agents, 711

10   Capitol Way S. # 204, Olympia, WA 98501.

11            4.     Defendant JRK Residential Group, Inc. dba Two Coast Living ("JRK"), a foreign

12   profit corporation UBI #603321649, is a landlord (RCW 59.18.030) doing business in

13   Washington who failed to properly discharge its duties under the Washington Residential

14   Landlord Tenant Act ("RLTA"). JRK's registered agent is National Registered Agents, 711

15   Capitol Way S. # 204, Olympia, WA 98501.
                                                                      .
16            5.     Defendant I.Q. Data International, Inc. ("IQ Data~), a Washington Corporation,

17   UBI# 602-306-960, is a debt collector and licensed collection agency doing business in

18   Washington, and who repeatedly attempted to collect an alleged debt from the Plaintiffs. IQ

19   Data's registered agent is Corporation Service Company, 300 Deschutes Way SW Ste 208 MC-

20   CSCl, Tumwater, WA, 98501.

21            6.     Jurisdiction over Defendants is proper as Defendants are doing business in

22   Washington State.

23                                            II.     FACTS


                                                                              ANDERSON I SANTIAGO
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            7.        In June 2021, Plaintiffs Lizabeth Glass and Brian~Rebeschini entered an

 2   agreement with Defendants CCPO and IRK to lease an apartme1~t at "CaiToll's Creek

 3   Apartments" from June 16, 2021 through June 15, 2022, a property owned by CCPO and

 4   managed by JRK. The first month's partial rent was $1,054.00, followed by monthly payments

 5   of $2,108.00.

 6          8.        The lease agreement contained a provision requiring a security deposit in the

 7   amount of $500.00, which Plaintiffs paid.

 8          9.        Immediately upon moving in, Plaintiffs found a myriad of issues with the

 9   property they had agreed to rent. Such issues included:

            111    Extensive mold in the garage area
            •      Lack of hot water and little water pressure
11          e      Non-working oven and dishwasher
            •      Piles upon piles of garbage stacked near community "Yaste bins
12          •      Animal waste throughout the complex

13          10.       While Plaintiffs requested maintenance on the issues in the home, they were never

14   properly remedied or never addressed at all.

15           11.      Plaintiffs were dismayed and completely disappointed in the landlords' refusal to

16   remedy the poor conditions, so on November 1, 2021 they gave notice to CCPO and JRK that

17   they would be moving out at the end of the month.

18           12.      On November 30, 2021, Plaintiffs moved out of the property as promised,

19   cleaning the carpet using professional cleaning equipment.

20          13.       Upon moving out, Plaintiffs expected their deposit to be applied to any

21   incidentals, and to receive a refund for the difference.

22
                                                                       .
             14.      Plaintiffs never received any communication fron~ CCPO or JRK, and never

23   received a refund of their deposit, however, on information and belief, the property was


                                                                                ANDERSON I SANTIAGO
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 1   immediately filled by another tenant.

2               Instead of a Security Deposit Refund, Plaintiffs are Thrust Into Collections

 3           15.     Instead of receiving a refund of their deposit, or any communication from CCPO

4    or JRK, in October 2023, Plaintiffs began receiving contacts from debt collector and Defendant

 5   IQ Data.

 6           16.     In early October 2023, Plaintiffs received a phone call from a representative ofIQ

 7   Data. Plaintiffs were shocked that IQ Data was attempting to collect almost $4,000. When
                                                                         .•
 8   asked why the balance was so high, IQ Data's representative wo~ld only tell Plaintiffs that it was

 9   because the lease was broken, giving no further details.

10           17.      A few days later, IQ Data sent a letter, again claiming that Plaintiffs owed

11   $3,952.17. See October 5, 2023 collection letter attached as Exhibit A. The letter contained no

12   explanation for the amount supposedly owed.

13           18.      A few days after receiving the letter, Plaintiffs called IQ Data to discuss the

14   alleged debt. Unfortunately, IQ Data refused to provide additional details.

15           19.      On October 18, 2023, Plaintiffs sent a letter to IQ Data, invoking their rights

16   under 15 U.S.C. § 1692g for validation of the debt. The letter was delivered to IQ Data on

17   October 20, 2023. To date, IQ Data has not responded to the validation request.

18          20.       Meanwhile, IQ Data issued adverse credit reporti~g, asserting that Plaintiffs owed

19   the alleged debt. Despite receiving the letter disputing the debt pursuant to 15 U.S.C. § 1692g

20   IQ Data continued its credit reporting. In mid-November, IQ Data updated the amount owed to

21   reflect additional interest, despite never having validated the debt.

22          21.       Because IQ Data refused to explain or validate the debt, Plaintiffs learned through

23   alternative methods that the debt was comprised of $4,216.00 for a "lease break fee," $85.00 for


                                                                                  ANDERSON I SANTIAGO
     Complaint - 4                                                                          207B SUNSET BLVD. N.
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 1   a carpet cleaning fee, and $563.22 in interest minus their $500.00 deposit and another "prepaid"

 2   amount of $322.05. See statement of security deposit attached as Exhibit B.

 3          22.      Plaintiffs were extremely confused, because they professionally cleaned the carpet

 4
                                                                        •
     already, had given notice, and had found that someone had moved into the residence soon after

 5   they had moved out.

 6          23.      In circumstances like that of the Plaintiffs and setting aside any specific damages.

 7   (such as costs to make lawful repairs), the RLTA limits a landlord's recovery to rent that would

 8   otherwise be lost when a tenant abandons the lease, provided the landlord makes reasonable

 9   efforts to mitigate damag~s (such as by finding a new tenant). Gebreseralse v. Columbia Debt

10   Recovery, 24 Wn. App. 2d 650, 660 (2022); RCW 59 .18.310.

11          24.      Essentially, given that the RLTA already provides specific remedies for

12   abandonment of a lease, a flat fee imposed upon the breaking of (or perceived breaking of) a

13   lease agreement is an additional windfall to the landlord and thus not pennitted by statute. Id. at

14                                                                    • time the apartment remained
     662. Thus, charging a flat lease break fee, rather than for whateter

15   unoccupied. violates the RLTA."

16          25.      Moreover, CCPO and JRK had retained the entirety of Plaintiffs' security deposit,

17   ostensibly reducing the balance of a debt which they did not owe. The result was the same -

18   Defendants unlawfully retained the security deposit. To summarize, Defendants had assessed an

19   illegal termination fee, an_d then retained Plaintiffs' full security deposit to cover some of those

20   charges.

21          26.      As a result of Defendants' actions detailed above, Plaintiffs have incurred

22   expenses in seeking and retaining counsel in connection with ascertaining their legal rights and

23   responsibilities, have suffered damaged credit, and have suffered financial uncertainty, unease,


                                                                                 ANDERSON ISANTIAGO
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 1   and distress caused by the false; improper, and confusing nature pf the debt and related collection

2    efforts.

 3                                      III.    CAUSES OF ACTION

4                     GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

 5              27.   With respect to the alleged debt, Plaintiffs are consumers as defined by 15 U.S.C.

 6   § 1692a(3) and each Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6).

 7              28.   With respect to the alleged debt, Plaintiffs are "debtors" as defined by RCW

 8   19.16.100(8) and each Defendant is a collection agency as defined by RCW 19.16.100(4).

 9              29.   For claims arising under the Fair Debt Collection Practices Act, such claims are

10   assessed using the "least sophisticated debtor" standard. Guernfo v. RJM Acquisitions LLC, 499

11   F.3d 926, 934 (9th Cir. 2007).                                     .   .




12                                     Count 1 - as to CCPO and JRK

13              30.   The landlord shall pay any refund due from a tenant's security deposit within

14   twenty-one days after termination of the rental agreement and vacation of the premises (or

15   twenty-one days after the landlord learns of abandonment). RCW 59.18.280.

16              31.   A court may, in its discretion award up to two times the amount of the deposit for

17   the intentional refusal of the landlord to give the refund due. RCW 59.18.280.

18              32.   Here, CCPO and JRK did not return a dime of any of Plaintiffs' security deposit,

19   even though anything they could have owed after moving out did not exceed the amount of the

20   deposit (on information and believe a tenant had moved in irnrn~iately after Plaintiffs moved
                                                                        '
21   out). CCPO and JRK rationalize this as having applied the depo~it to a debt which was not

22   owed.

23              33.   In addition to the foregoing, unlawfully retaining a security deposit


                                                                                  ANDERSON I SANTIAGO
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 1   simultaneously violates 59.18.280's requirement that the deposit be returned or a statement

 2   provided within 21 days. Here, no such lawful statement was provided, and the deposit was

 3   illegally withheld. Therefore, in the alternative, CCPO and JRK violated 59 .18.280.

 4             34.     CCPO and JRK's retention of a security deposit (via forfeiture, or applying it to

 5   amounts not owed) violated RCW 59.18.280.

 6                   Count 2 - Consumer Protection Act Violation as _to CCPO and JRK

 7             35.     CCPO and JRK's. actions in charging Plaintiffs
                                                                   .
                                                                      a lease
                                                                        ;
                                                                              break fee rather than for

 8   actual damages is illegal, as a landlord may not abdicate its responsibility to mitigate damages

 9   under RCW 59 .18.310. Thus, the practice of charging a lease break fee is an unfair or deceptive

10   and occurred in the conduct of commerce, namely, the leasing and management of residential

11   real estate.

12             36.     In this case, on information and belief, CCPO and JRK had found a new tenant

13   shortly after Plaintiffs vacated the apmiment, yet charged Plaintiffs a flat lease break fee in the

14   amount of $4,216 and sent their account to collections.

15             37.    The effect of these actions resulted in CCPO and JRK attempted to obtain double

16   their profit on the apartment, charging a lease break fee while sirpultaneously charging a new

17   tenant.

18             38.    Plaintiffs were injured because they were subjected to unlawful collection efforts

19   as a result of CCPO and JRK.'s double-dipping.

20             39.    But for CCPO's and JRK's actions, Plaintiffs would not have been injured (by

21   way of having their credit damaged, having to contend with a debt collector, having their

22   security deposit applied to amounts not due and owing, and incurring expenses in determining

23   their legal rights, etc.).


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     Complaint - 7                                                                         207B SUNSET BLVD. N.
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 1          40.      IRK and CCPO are liable for violations of the Consumer Protection Act

 2                              Count 3 (and all subcounts) - as to IQ Data
                                                                          I

 3          41.      A debt collector may not use any false, deceptive;• or misleading representation or

 4   means in connection with the collection of any debt. 15 U.S.C. § 1692e. This includes the false

 5   representation of the character, amount, or legal status of a debt(§ 1692e(2)), the threat to take

 6   any action which cannot be legally taken(§ 1692e(5)), communicating to any person credit

 7   information which is false or should be known to be false (§ 1692e(8)), or the use of any false

 8   representation or deceptive means to collect or attempt to collect a debt(§ 1692e(l 0)).

 9          42.      Defendant IQ Data used false, deceptive, or misleading representations or means

10   in connection with the collection of an alleged debt when it, among other actions:

11                   a) Demanded, in writing and by phone, that Plaintiffs pay amounts which were

12                      not owed, including an illegal lease break fee;
                                                                          I

13                   b) Issued adverse credit reporting demanding ai~ounts not owed;

14                   c) Attempted to leverage false balances and imptoper supporting documents

15                      containing unlawful accounting and lease terms against Plaintiffs

16                      creditworthiness to obtain a payment.

17          43.      Therefore, Defendant IQ Data violated 15 U.S.C. § 1692e, and/or its subsections,

18   on numerous occasions.

19                              Count 4 (and all subcounts)- as to IQ Data

20          44.      A debt collector may not use unfair or unconscionable means to collect or attempt

21   to collect any debt. 15 U.S.C. § 1692f.

22          45.      Plaintiffs reallege the allegations in Count 3 supra, as constituting unfair and

23   unconscionable means to collect a debt.


                                                                                 ANDERSON I SANTIAGO
     Complaint - 8                                                                         207B SUNSET BLVD. N.
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 1           46.     In summary, the Defendant IQ Data therefore violated 15 U.S.C. § l 692f and/or §

 2   1692f(l) on numerous occasions.

 3                                           Count 5.- as to IQ Data

 4           47.     If a consumer notifies the debt collector in writing that the debt is disputed within

 5   the thirty-day period described in 15 U.S.C. § 1692g(a), the debt collector shall cease collection

 6   of the debt until it obtains verification of the debt.

 7           48.     Here, IQ Data received a dispute and validation request within the thirty-day time

 8   period, yet as of this writing, IQ Data has failed to provide validation to Plaintiffs.

 9           49.     However, in mid-November, IQ Data continued ifs collection efforts by updating
                                                                            .
10   its credit reporting on both Plain.tiffs' credit, increasing the bala~e due to interest.

11           50.     Defendant IQ Data therefore violated 15 U.S.C. § 1692g.

12                         Count 6 - Violation of the WCAA as a CPA Violation

13           51.     Violations of RCW 19 .16.250 are per se violations of the Consumer Protection

14   Act ("CPA"), RCW chapter 19.86. 1 See RCW 19.16.440. RCW 19.86.090 provides for treble

15   damages (to a limit of $25,000) and attorney's fees.

16           52.     Because RCW Chapter 19.16 is enforced through RCW 19.86 et seq., the below

17   counts alleging violations ofRCW Chapter 19.16 are therefore CPA violations.

18           53.     Even minimal or nominal damages constitute "injury" under the CPA. Panag,

19   166 Wn.2d at 57. A plaintiff need not prove any monetary dam~es at all, as even

20   "unquantifiable damages" suffice to establish "injury" for purpoies of the CPA. Id. (citing

21   Nordstrom, Inc. v. Tampourlos, 107 Wn.2d 735, 740 (1987

22
     1
       See Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d 27, 53 (2009) ('.'Consumer debt collection is a highly
23   regulated field. When a violation of debt collection regulations occurs, it constitutes a per se violation of
     the CPA ... ").                                       •

                                                                                      ANDERSON I SANTIAGO
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 1           54.      RCW 19 .16.250(21) prohibits the collection, or attempted collection, of any

 2   amounts in addition to the principal of a claim other than allowable interest, collection costs, or

 3   handling fees expressly authorized by statute, and, in the case of suit, attorney's fees and taxable

 4   court costs.

 5           55.      Here, Defendant IQ Data demanded money on mw:nerous occasions for amounts
                                                                        I,




 6   that were not owed through pho_ne calls, letters, and credit report)ng.

 7           56.      IQ Data also added interest to the balance that was not owed.

 8           57.      Each attempt to collect money from Plaintiffs constitutes a separate attempt to

 9   collect amounts obviously not owed.

             58.      Defendant therefore violated RCW 19.16.250(21) upon each debt collection

11   attempt.

12                            Count 7 - Injunctive Relief as to all Defendants

13           59.    A plaintiff may seek injunctive relief for violations of the Consumer Protection

14   Act. RCW 19.86.090. Plaintiffs do seek injunctive relief from this Court which would enjoin

15   Defendant from collecting debts in the manner described above vom both Plaintiffs and any

16                                                                     .
     other person similarly situated. .Scott v. Cingular Wireless, 160 Wn. 2d 843, 853 (2007).

17           60.    Plaintiffs seek an injunction prohibiting CCPO and JRK from assessing illegal

18   lease break fees, contrary to Washington law, from charging tenants for amounts that were

19   already mitigated, and from sending such accounts to collection agencies.

20           61.    Additionally, Plaintiffs seek an injunction prohibiting Defendant IQ Data from its

21   unlawful collection tactics, including but not limited to demanding money that is not owed and

22   reporting inflated amounts to alleged debtors' credit.

23           62.    Plaintiffs have reason to believe these actions may constitute a pattern and


                                                                                 ANDERSON I SANTIAGO
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 I   practice of behavior and have impacted other individuals similarly situated.
                                                                           •
 2          63.       Injunctive relief is necessary to prevent further inj~ry to Plaintiff and to the

 3   Washington public as a whole.

 4          64.       Injunctive relief should therefqre issue as described herein.

 5                                       IV. PRAYER FOR RELIEF

 6          WHEREFORE, Plaintiffs pray:

 7          1.        For Judgment against Defendants for actual damages.

 8          2.        For statutory damages of $J,000.00, per Plaintiff for FDCPA violations.

 9          3.        For double damages pursuant to RCW 59.18.280.

10          4.        For statutory damages of $7,500.00 per violation, for Washington Collection

11   Agency Act and Consumer Protection Act violations.
                                                                           •
                                                                           I.

12          5.        For treble damages, pursuant to RCW 19.86.090, c,alculated from the damages

13   determined by the court.

14          6.        For costs and reasonable attorney's fees as determined by the Court pursuant to

15   15 U.S.C. 1692k(a)(3), RCW 19.86. et seq., and RCW 59.18.280.

16          7.        For injunctive relief pursuant to RCW 19.86.090 as described above.

17          Respectfully submi·tted this 27th day of November, 2023.

18

19                                                    ANDERSON SANTIAGO, PLLC

20                                                     By: ; ~                 --__s::::
                                                      T. Ty~Santiago, WSBA No. 46004
21                                                    Jason D. Anderson, WSBA No. 38014
                                                      Attorneys for Plaintiffs
22                                                    207B Sunset Blvd. N.
                                                      Renton, WA 98065 ;
23                                                    (206) 395-2665
                                                      (206)395-2719 (fax)

                                                                                   ANDERSON I SANTIAGO
     Complaint - 11                                                                          207B SUNSET BLVD. N.
                                                                                                RENTON. WA 98057
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                       EXHIBIT A
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                        Case 2:23-cv-01963-BJR Document 1-3 Filed 12/20/23 Page 13 of 16
                                                                 L Q. Data International, Inc.
                                        21222 30th Drive SE, Suite 120, Bothell, WA 98021-7012
                Hours: Monday-Tuesday, 9AM TO 6PM PST, Wednesday-Friday, 8AM TO 5PM PST• Toll Free 888-248-2509
                                  Send all Written Disputes to: P.O. Box 340, Bothell, WA 98041-0340
     To: BRIAN REBESCHINI                                                                                                                                Date: 10/05/23
         5616 Evergreen Way
         Everett, WA 98203-3877                                                                                                                   Reference:


     IQ Data is a debt collector. We are trying to collect a debt that you owe to CARROLLS CREEK
     LANDING (WA). We will use any information you give us to help collect the debt.

     Our information shows:                                                                     How can you dispute the debt?
     You have a remaining balance owed to CARROLLS CREEK                                                        •. Call or write to us by 11/15/23, to dispute all
     LANDING (>NA) from applying to, cosigning foF, or residing in a                                            '. or part of the debt. If you do not, we will
     rental unit, or from a related surety bond.                                                                 • assume that our infor.mation is..correct

     As of 11/30121, you owed:                                               $      3,388.95           •          If you write to us by 11/15/23, we must stop
                                                                                                                  collection on any amount you dispute until we
     Between 11/30/21 and today:
                                                                                                                  send you information that shows you owe the
       You were charged this amount in interest:                        + $          563.22                       debt. You may use the form below or write to
       You were charged this amount in fees:                            + $             o.oo·                     us without the form. You may also include
       You paid or were credited this amount                                                                      supporting documents.
                                                                                        0.00
       toward the debt:

     Total amount of the debt now:                                           $      3,952.17    What else can you do?
                                                                                                       •          Write to ask for the name and address of
                                                                                                                  the original creditor, if different from the
                                                                                                                  current creditor. If you write by 11/15/23, we
                                                                                                                  must stop collection until we send you that
                                                                                                                  information. You may use the form below or
                                                                                                                  write to us without the form.
                                                                                                                   Go to www.cfpb.gov/debt-collection to learn
                                                                                                                ~: more about your rights under federal law.
                                                                                                                .. For instance, you have the right to stop or limit
                                                                                                                '. how we contact you.
                                                                                                                 • Contact us about your payment options.

__   Notice: See reve~side for imp(!t!3nt in_!ormation.

                                                                                                How do you want to respond?
                                                                                                Check all that apply:
                                                                                                □ I want to dispute the debt because I think:
      IQD                                                                                          □ This is not my debt.
      P.O. Box 1280
                                                                                                   □ The amount is wrong.
      Qaks PA 19456-1280
                                                                                                   □ other (please describe on reverse or
      ADDRESS SERVICE REQUESTED
                                                                                                      attach additional information).
                                                                                                D I want you to send me the name and address of the original
                                                                                                   creditor.
                                                                                                D I enclosed this amount:         ~
                                                                                                                                          I                       I
                                                                                                Make your check payable to IQ Data International or
                                                                                                visit iqdata-inc.com. Include the reference number
      11' 1111111111" 111 1I1h11 111 11IIi 11 11 Ili1 h11111 11111 11 111•11 1III
      BRIAN REBESCHINI                                                                            Mail this form to:
      5616 Evergreen Way                                                                          IQ Data International
      Everett WA 98203-3877                                                                       P.O. Box 340
                                                                                                  Bothell, WA 98041-0340
                                                                                                  iIhIIII1, 1.1: 1I11 1 I;I1 1I111IIII1 11111 111111 111111 1111 I1111 1II11I
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Your outstanding principal balance will accrue interest at a rate of 009.00 percent per annum.

As of the date of this letter, you owe $3,952.17. Because of interest, late charges and other charges that may vary
from day to day, the amount due on the day you pay may be greater. Hence, if you pay the amount shown on this
letter, an adjustment may be necessary after we receive your payment, in which event we will inform you before
depositing the payment for collection. Fer further information, write to us or ~all 1-888-248-2509.
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                       EXHIBITB
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From:             CARROLL'S CREEK LANDING                                  Statement of Security Deposit Accounts
                  18111 25th Ave NE
                  Marysville, WA 98271                                     Dec 06, 2021

                                                                           Account:

                                                                           Residents:
To:               Brian D. Rebeschini                                         Brian D. Rebeschini
                  5616 Evergreen Way                                          Lizabetti Glass
                  Everett, WA 98203                                                  I




Agreement:       Lease begins      06/16/21                                Monthly Charges:
                 Lease ends        06/15/22                                                               CAM - Residential
                 Move-in           06/16/21                                                                          25.00
                 Notice            11/01/21                                                         CORNER UNIT/END UNIT
                 Move-out          11/30/21                                                                          20.00
                                                        On Hand:              RENTAL INCOME                               322.05
                                                                              SECURITY DEPOSIT                            500.00
                                                                              Utility Sec Dep                              90.00

                                                                                                                          912.05

                                                        Balances Due:                                                       0.00

                                                                                                                            0.00

                                                        New Charges:          Lease Break Fee                           4,216.00
                                                                              Carpet Clean                                 85.00

                                                                                                                        4,301.00


                                                        odas




Summary:                                                                   Total Deposits                                590.00
                                                                           Total Prepaid                                 322.05
                                                                           Applied to Due                                  0.00
                                                                           Applied to Other                              912.05
                                                                                                                      ------------
                                                                           Refunded                                         0.00
                                                                                                                      ------------
                                                                           Due Property                                3,388.95




If you should have any questions regarding this statement, please contact our office. The Leasing Office phone number is (360) 652-
4488.

Thank you.
